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                                                      THE HONORABLE MARSHA J. PECHMAN
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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
 7 MARIJA PAUNOVIC and DUSAN
   PAUNOVIC, individually and on behalf of all
 8 others similarly situated,                             NO. 2:21-cv-00884-MJP
 9                                                        ORDER GRANTING PLAINTIFFS’
                          Plaintiffs,                     MOTION FOR FINAL APPROVAL
10                                                        OF CLASS ACTION
           v.                                             SETTLEMENT AND
11                                                        ATTORNEYS’ FEES AND COSTS
   OBI SEAFOODS LLC, an Alaska corporation,
12
   and OCEAN BEAUTY SEAFOODS LLC, an
13 Alaska corporation,

14                        Defendants.

15

16         THIS MATTER came before the Court on Plaintiffs’ Motion and Supplemental Motion

17 for Final Approval of Class Action Settlement and Attorneys’ Fees and Costs, and the Court held

18 a final settlement fairness hearing on December 3, 2024. Prior to ruling, the Court considered the

19 following:

20         1.      Plaintiffs’ Motion for Final Approval of Class Action Settlement and Attorneys’

21 Fees and Costs;

22         2.      Declaration of Toby J. Marshall in Support of Plaintiffs’ Motion for Final

23 Approval of Class Action Settlement and Attorneys’ Fees and Costs;

24         3.      Declaration of Tamara Kenworthey in Support of Plaintiffs’ Motion for Final

25 Approval of Class Action Settlement and Attorneys’ Fees and Costs;

26         4.      Declaration of Markus Bulthuis Regarding Notice and Settlement Administration;

27
     ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL
                                                                     TERRELL MARSHALL LAW GROUP PLLC
     OF CLASS ACTION SETTLEMENT AND ATTORNEYS’ FEES AND                      936 North 34th Street, Suite 300
     COSTS - 1                                                               Seattle, Washington 98103-8869
                                                                          TEL. 206.816.6603 • FAX 206.319.5450
     CASE NO. 2:21-cv-00884-MJP                                                  www.terrellmarshall.com
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 1          5.       Plaintiffs’ Supplemental Motion for Final Approval of Class Action Settlement

 2 and Attorneys’ Fees and Costs;

 3          6.       Supplemental Declaration of Toby J. Marshall in Support of Plaintiffs’ Motion for

 4 Final Approval of Class Action Settlement and Attorneys’ Fees and Costs; and

 5          7.       Supplemental Declaration of Markus Bulthuis Regarding Notice and Settlement

 6 Administration.

 7          Based on the foregoing, IT IS HEREBY ORDERED THAT Plaintiffs’ Motion and

 8 Supplemental Motion for Final Approval of Class Action Settlement and Attorneys’ Fees and

 9 Costs are GRANTED. The Court: (1) approves the Settlement Agreement as fair, reasonable, and

10 adequate; (2) finds that adequate notice was provided to Class Members; (3) grants Class

11 Counsel $630,000 in attorneys’ fees and up to $100,000 in costs; (4) approves the requested

12 service payments to Plaintiffs of $10,000 each; (5) approves the settlement administration costs

13 of up to $32,000; and (6) dismisses this action with prejudice.

14          IT IS SO ORDERED.

15          DATED this 3rd day of December, 2024.

16

17

18
                                                       A
                                                       MARSHA J. PECHMAN
19                                                     United States Senior District Judge
20
     Presented by:
21

22 TERRELL MARSHALL LAW GROUP PLLC

23 By: /s/Toby J. Marshall, WSBA #32726
      Toby J. Marshall, WSBA #32726
24    Email: tmarshall@terrellmarshall.com
      Ryan Tack-Hooper, WSBA #56423
25    Email: rtack-hooper@terrellmarshall.com
26    Eric R. Nusser, WSBA #51513
      Email: eric@terrellmarshall.com
27    Jasmin Rezaie-Tirabadi, WSBA #60285
     ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL
                                                                       TERRELL MARSHALL LAW GROUP PLLC
     OF CLASS ACTION SETTLEMENT AND ATTORNEYS’ FEES AND                       936 North 34th Street, Suite 300
     COSTS - 2                                                                Seattle, Washington 98103-8869
                                                                           TEL. 206.816.6603 • FAX 206.319.5450
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        Email: jrezaie@terrellmarshall.com
 1      936 North 34th Street, Suite 300
 2      Seattle, Washington 98103
        Telephone: (206) 816-6603
 3
        Tamara Kenworthey, Admitted Pro Hac Vice
 4      Email: tkenworthey@kenwortheylaw.com
        KENWORTHEY LAW PLLC
 5      137 Fifth Avenue, 9th Floor
 6      New York, New York 10010
        Telephone: (718) 344-5746
 7
     Attorneys for Plaintiffs
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                                                              TERRELL MARSHALL LAW GROUP PLLC
     OF CLASS ACTION SETTLEMENT AND ATTORNEYS’ FEES AND              936 North 34th Street, Suite 300
     COSTS - 3                                                       Seattle, Washington 98103-8869
                                                                  TEL. 206.816.6603 • FAX 206.319.5450
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